                Case 1:25-cv-01281        Document 1-9       Filed 04/25/25       Page 1 of 2




     ENVIRONMENTAL DEFENSE FUND




UNITED STATES ENVIRONMENTAL PROTECTION AGENCY




                                  United States Environmental Protection Agency
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                                  Washington, DC 20460




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           Case 1:25-cv-01281                   Document 1-9       Filed 04/25/25            Page 2 of 2




                                         PROOF OF SERVICE
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                       (name of individual and title, if any)

                 (date)


                                                                (place)

                                                                           (date)

                                                                                             (name)



(date)

                                   (name of individual)

                                                                    (name of organization)

                                                                           (date)




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